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                         13
                                                             UNITED STATES DISTRICT COURT
                         14
                                                        NORTHERN DISTRICT OF CALIFORNIA
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                         16
                              BRENNA DICKERSON, Individually and on           Case No.: 3:23-cv-01320-AMO
                         17   behalf of all others similarly situated,
                                                                              DEFENDANTS’ APPENDIX
                         18                     Plaintiff,                    SUMMARIZING BASES FOR
                                                                              CHALLENGING THE ALLEGED
                         19          v.                                       FALSE OR MISLEADING
                                                                              STATEMENTS IN THE SECOND
                         20   ANDY MACMILLAN and USERTESTING,                 AMENDED COMPLAINT
                              INC.,
                         21                                                   Date:       December 19, 2024
                                                Defendants.                   Time:       2:00 PM
                         22                                                   Courtroom: 10, 19th Floor
                                                                              Judge:      Hon. Araceli Martínez-Olguín
                         23                                                   Trial Date: None set

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                              DEFENDANT’S APPENDIX SUMMARIZING BASES FOR                       Case No.: 3:23-cv-01320-AMO
                              CHALLENGING ALLEGED FALSE OR MISLEADING
                              STATEMENTS IN SECOND AMENDED COMPLAINT
                          Case 3:23-cv-01320-AMO       Document 71-2         Filed 11/07/24      Page 2 of 2


                             Defendants’ Appendix Summarizing Bases for Challenging the
                      Alleged False or Misleading Statements in the Second Amended Complaint

Statement     SAC ¶           The Speaker(s),      False and Misleading Statements          Not Well-    Safe  Opinion Puffery
   No.                      Date(s), and Medium                                              Pleaded    Harbor
   1        ¶¶ 4-5, 56-    UserTesting and         That UserTesting's “anticipated             
            58, 85-87;     Andy MacMillan (¶¶      [third quarter] results included
            Proxy          3, 9, 90,               revenue and calculated
            internal                               billings...that were lower than those
                           114, 116)
                                                   anticipated by Wall Street analysts,
            page 35/       When:                   Thoma Bravo and the September
            PDF page       Dec. 6, 2022 (¶ 3)      Financial Forecast.”
            44 of 111
                           Medium: Proxy filed
                           with SEC & mailed
                           to shareholders (¶ 3)
   2        ¶ 6; Proxy     Same as above           “[the October Financial Forecast]                     
            internal                               that reflected the potential impact
            page 38                                of our financial results for the third
            /PDF page                              quarter ended September 30, 2022
            47 of 111                              on future periods, and which
                                                   reflected reduced levels of revenue,
                                                   gross margin, EBITDA and
                                                   unlevered free cash flow as
                                                   compared to the September
                                                   Financial Forecast as a result of our
                                                   revenue and billing results for the
                                                   third quarter and estimates for the
                                                   fourth quarter and trends in our end
                                                   markets that we observed
                                                   subsequent to our preparation of
                                                   the September 21 forecast.”




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